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                                  UNITED STATES DISTRICT COURT
5                                WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
6
7     UNITED STATES OF AMERICA,

8                   Plaintiff,                              Case No. CR05-334RSL

9            v.                                             ORDER ON MOTION FOR PRETRIAL
                                                            DISCLOSURE OF TESTIMONY &
10    RAJINDER JOHAL, et al.,                               EVIDENCE

11                  Defendants.

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            This matter comes before the Court on “Defendant Johal’s Motion for Pretrial Disclosure
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     of Testimony & Evidence” (Dkt. # 134). The Court has considered this motion and the
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     government’s response, and it is clear that the government understands its disclosure
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     responsibilities in this area. See Fed. R. Crim. P. 16. In light of this agreement, defendant’s
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     motion is DENIED AS MOOT.
17
18          DATED this 24th day of May, 2006.

19
20                                                    A
                                                      Robert S. Lasnik
21                                                    United States District Judge
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25
26
      ORDER ON MOTION FOR PRETRIAL
      DISCLOSURE OF TESTIMONY &
      EVIDENCE
